      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 1 of 21




 1   KENNETH L. STEINTHAL (State Bar No. 268655)
     ksteinthal@kslaw.com
 2   KING & SPALDING LLP
     101 Second Street, Suite 2300
 3   San Francisco, CA 94105
     Telephone: (415) 318-1211
 4   Facsimile: (415) 318-1300

 5   STEVEN JAY RIZZI (admitted pro hac vice)
     srizzi@kslaw.com
 6   RAMY HANNA (admitted pro hac vice)
     rhanna@kslaw.com
 7   KING & SPALDING LLP
     1185 Avenue of the Americas, 34th Floor
 8   New York, NY 10036
     Telephone: (212) 556-2100
 9   Facsimile: (212) 556-2222

10   Attorneys for Defendants LSI CORPORATION and
     AVAGO TECHNOLOGIES U.S. INC.
11
                                UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13                                 SAN FRANCISCO DIVISION

14   CARNEGIE MELLON UNIVERSITY,
15                Plaintiff,
16         v.
                                                Case No. 3:18-cv-04571-JD
17
     LSI CORPORATION AND AVAGO                  DEFENDANTS’ NOTICE OF MOTION
18   TECHNOLOGIES U.S. INC.,                    AND MOTION FOR JUDGMENT ON THE
                                                PLEADINGS OF INVALIDITY DUE TO
19                Defendants.                   FAILURE TO CLAIM PATENT-ELIGIBLE
                                                SUBJECT MATTER
20
                                                Date: August 1, 2019
21                                              Time: 10:00 a.m.
                                                Courtroom: 11 – 19th Floor
22                                              Judge: Hon. James Donato

23

24

25

26

27

28
     DEFTS’ MTN FOR JUDGMENT ON THE PLEADINGS OF             CASE NO. 3:18-cv-04571-JD
     INVALIDITY DUE TO FAILURE TO CLAIM PATENT-ELIGIBLE
     SUBJECT MATTER
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 2 of 21




 1                                NOTICE OF MOTION AND MOTION

 2          PLEASE TAKE NOTICE that on August 1, 2019, at 10:00 a.m., or as soon thereafter as

 3   may be heard, in Courtroom 11 of the above-captioned Court, located at the United States Court

 4   House, 450 Golden Gate Avenue, 19th floor, San Francisco, CA 94102, defendants LSI

 5   Corporation and Avago Technologies, U.S., Inc. (collectively, “Defendants”), by their attorneys,

 6   will move this Court for an order entering judgment against Plaintiff Carnegie Mellon University

 7   (“Plaintiff” or “CMU”) pursuant to Rule 12(c) of the Federal Rules of Civil Procedure. This

 8   Motion is based upon this Notice of Motion and Memorandum of Points and Authorities in

 9   support thereof, all pleadings and papers on file in this action, and such other and further matters

10   as the Court may consider.

11
                                  STATEMENT OF RELIEF SOUGHT
12

13          Defendants request that judgment be entered on the pleadings that the patent claims

14 asserted by CMU in this action are invalid for failure to claim patent-eligible subject matter as

15   required by 35 U.S.C. § 101.

16

17

18
19

20

21

22

23

24

25

26

27

28
                                                       i
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                             CASE NO. 3:18-cv-04571-JD
          Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 3 of 21




                                                         TABLE OF CONTENTS
 1
     NOTICE OF MOTION AND MOTION ......................................................................................... i
 2

 3   STATEMENT OF RELIEF SOUGHT ............................................................................................ i

 4   TABLE OF CONTENTS ................................................................................................................ ii

 5   TABLE OF AUTHORITIES ......................................................................................................... iii

 6   MEMORANDUM OF POINTS AND AUTHORITIES .................................................................1
 7   I.        Introduction ..........................................................................................................................1
 8   II.       Legal Standards ....................................................................................................................2
 9   III.      The Section 101 Inquiry is Controlled by the Claim Language ..........................................2
10
     IV.       The Asserted Claims are Highly Abstract and Divorced From Any “Physical Process” ....3
11
     V.        Step One of the Alice Analysis ............................................................................................5
12
               A.         The Federal Circuit Did Not Address Patent Eligibility in the Marvell
13                        Litigation ..................................................................................................................5
14             B.         Methods for Calculating are Not Patent Eligible Subject Matter Under
                          Controlling Supreme Court and Federal Circuit Precedent .....................................5
15

16                        1.         Parker v. Flook ............................................................................................6

17                        2.         Diamond v. Diehr.........................................................................................6

18                        3.         Post-Alice Precedent Confirms CMU’s Claims are Directed to an
                                     Abstract Idea ................................................................................................7
19
               C.         CMU’s Asserted Patent Claims Fail Step One of the Alice Inquiry ......................10
20
     VI.       CMU’s Asserted Claims Fail Step Two of The Alice Analysis ........................................11
21
     VII.      CMU’s Factual Allegations Do Not Avoid Patent Ineligibility as a Matter of Law .........12
22

23             A.         CMU’s Pleadings Confirm That the Asserted Claims are Not Patent
                          Eligible ...................................................................................................................12
24
               B.         CMU’s Patents Raise the Preemption Concerns Underlying Flook and
25                        Alice .......................................................................................................................15
26   VIII.     Conclusion .........................................................................................................................15
27

28
                                                                            ii
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                                                           CASE NO. 3:18-cv-04571-JD
       Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 4 of 21




                                                    TABLE OF AUTHORITIES
 1
     Cases                                                                                                                           Page(s)
 2

 3   Aatrix Software, Inc. v. Green Shades Software, Inc.,
        882 F.3d 1121 (Fed. Cir. 2018)..................................................................................................2
 4
     Alice Corp. v. CLS Bank Int’l,
 5       573 U.S. 208 (2014) ...................................................................................................................2
 6   Allen Eng’g Corp. v. Bartell Indus., Inc.,
         299 F.3d 1336 (Fed. Cir. 2002)............................................................................................4, 15
 7
     Ariosa Diagnostics, Inc. v. Sequenom, Inc.,
 8
        788 F.3d 1371 (Fed. Cir. 2015)................................................................................................15
 9
     Bancorp Services v. Sun Life Assur. Co. of Canada (U.S.),
10      687 F.3d 1266 (Fed. Cir. 2012)..................................................................................................2

11   Berkheimer v. HP Inc.,
        881 F.3d 1360 (Fed. Cir.), petition for cert. filed (Sept. 28, 2018)..........................................11
12
     Bilski v. Kappos,
13
         561 U.S. 593 (2010) .................................................................................................................12
14
     Carnegie-Mellon Univ. v. Marvell Techn. Grp., Ltd.,
15      807 F. 3d 1283 (Fed. Cir. 2015).................................................................................................5

16   Cellspin Soft, Inc. v. Fitbit, Inc.,
        No. 4:17-CV-5928-YGR............................................................................................................2
17
     ChargePoint, Inc. v. SemaConnect, Inc.,
18      920 F.3d 759 (Fed. Cir. 2019).......................................................................................... passim
19
     Diamond v. Diehr,
20      450 U.S. 175 (1981) ...............................................................................................................6, 9

21   Digitech Image Techn., LLC v. Electronics for Imaging, Inc.,
        758 F.3d 1344 (Fed. Cir. 2014)............................................................................................6, 13
22
     E.I. du Pont de Nemours & Co. v. Phillips Petroleum Co.,
23       849 F.2d 1430 (Fed. Cir. 1988)..................................................................................................5
24   Elec. Power Grp., LLC v. Alstom S.A.,
25      830 F.3d 1350 (Fed. Cir. 2016)..................................................................................................3

26   Enfish, LLC v. Microsoft Corp.,
        822 F.3d 1327 (Fed. Cir. 2016)..............................................................................................7, 9
27
     FairWarning IP, LLC v. Iatric Sys., Inc.,
28      839 F.3d 1089 (Fed. Cir. 2016)..........................................................................................14, 15
                                                                         iii
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                                                       CASE NO. 3:18-cv-04571-JD
        Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 5 of 21




     Gottschalk v. Benson,
 1      409 U.S. 63, 93 S.Ct. 253, 34 L.Ed.2d 273 (1972) ....................................................................8
 2
   Intellectual Ventures I LLC v. Capital One Bank (USA),
 3     792 F.3d 1363 (Fed. Cir. 2015)................................................................................................12

 4   Mayo Collaborative Servs. v. Prometheus Labs., Inc.,
       566 U.S. 66 (2012) .....................................................................................................................2
 5
     McRO, Inc. v. Bandai Namco Games America Inc.,
 6     837 F.3d 1299 (Fed. Cir. 2016)..................................................................................................9
 7   Parker v. Flook,
 8      437 U.S. 584 (1978) ...............................................................................................................6, 8

 9   In re Roslin Inst. (Edinburgh),
         750 F.3d 1333 (Fed. Cir. 2014)..................................................................................................2
10
     SAP America, Inc. v. Investpic, LLC,
11      898 F.3d 1161 (Fed. Cir. 2018)...............................................................................................1,7
12   Synopsys, Inc. v. Mentor Graphics Corp.,
13      839 F.3d 1138 (Fed. Cir. 2016), cert. denied, 138 S. Ct. 71 (2017) ..........................................3

14   Thales Visionix Inc. v. United States,
        850 F.3d 1343 (Fed. Cir. 2017)..................................................................................................9
15
     Trading Techns. Int’l, Inc. v. IBG LLC,
16      921 F.3d 1378 (Fed. Cir. 2019)................................................................................................11
17   Twilio, Inc. v. Telesign Corp.,
        249 F. Supp. 3d 1123 (N.D. Cal. 2017) .....................................................................................7
18
19   Uniloc USA, Inc. v. Apple, Inc.,
        No. C 18-00358 WHA, 2018 WL 2287675 (N.D. Cal. May 18, 2018).....................................2
20
     Statutes
21
     35 U.S.C. § 101 ................................................................................................................................1
22
     Other Authorities
23
     Federal Rules of Civil Procedure Rule 12 ............................................................................. passim
24

25

26

27

28
                                                                            iv
       DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                                                         CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 6 of 21




 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2   I. Introduction

 3          Plaintiff Carnegie Mellon University (“CMU”) asserts only two patent claims in this

 4   case, claim 4 of U.S. Patent No. 6,201,830 (“the ‘839 patent”) and claim 2 of U.S. Patent No.

 5 6,438,180 (“the ‘180 patent”). For the reasons set forth herein, these claims are invalid as a

 6 matter of law under 35 U.S.C. § 101 for failure to claim patent eligible subject matter.

 7          Each claim recites a “method of determining branch metric values,” which are the result

 8 of statistical operations that may be used in “sequence detection.” Sequence detection is not a
 9 physical process, but refers to the “detection” of a sequence of data in a noisy signal. A well-

10 known method of sequence detection utilizes the Viterbi algorithm, which uses branch metric

11 values to predict the sequence of data actually transmitted based on the noisy received signal.

12          The claims do not claim a process for reading data or sequence detection, but only the

13 intermediate step of calculating branch metric values, a wholly abstract endeavor. And the only

14 purported novelty of the patents is the manner in which these calculations are made, i.e., the

15 particular functions used, referred to as “branch metric functions.” The focus of the claims is the

16 abstract idea of applying mathematical functions to values (signal samples) to obtain other values

17 (branch metric values). And although the patents describe “magnetic recording” as an exemplary

18 application, “[e]ven a specification full of technical details about a physical invention may
19 nonetheless conclude with claims that claim nothing more than the broad law or abstract idea

20 underlying the claims, thus preempting all use of that law or idea.” ChargePoint, Inc. v.

21 SemaConnect, Inc., 920 F.3d 759, 769 (Fed. Cir. 2019). That is the case here.

22          Under step two of Alice, the claims lack an “inventive concept” that would transform the

23 abstract idea into a patent eligible invention in view of the patents’ and CMU’s statements that

24 the claimed steps may be performed on available computers. This is because “invocation of

25   already-available computers that are not themselves plausibly asserted to be an advance, for use

26   in carrying out improved mathematical calculations, amounts to a recitation of what is well-

27   understood, routine, [and] conventional.” SAP America, Inc. v. Investpic, LLC, 898 F.3d 1170

28   (Fed. Cir. 2018) (quotations omitted). The asserted claims are thus invalid as a matter of law.

                                                     1
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                           CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 7 of 21




 1   II. Legal Standards

 2          Analysis under F.R.C.P. 12(c) is “substantially identical” to analysis under F.R.C.P.

 3   12(b)(6). Uniloc USA, Inc. v. Apple, Inc., No. C 18-00358 WHA, 2018 WL 2287675, at *2

 4   (N.D. Cal. May 18, 2018). Patent eligibility is a question of law, In re Roslin Inst. (Edinburgh),

 5   750 F.3d 1333, 1335 (Fed. Cir. 2014), that “may be, and frequently has been, resolved on a Rule

 6 12(b)(6) or (c) motion where the undisputed facts, considered under the standards required by

 7 that Rule, require a holding of ineligibility under the substantive standards of law.” SAP, 898

 8   F.3d at 1166. And “[a]lthough issued patents are presumed valid, they are not presumed eligible

 9   under Section 101.” Cellspin Soft, Inc. v. Fitbit, Inc., No. 4:17-CV-5928-YGR (additional

10 citations omitted), 42018 WL 3328164, at *4 (N.D. Cal. July 6, 2018) (citation omitted).

11          “[C]laim construction is not an inviolable prerequisite to a validity determination under

12   § 101.” Bancorp Services v. Sun Life Assur. Co. of Canada (U.S.), 687 F.3d 1266, 1273 (Fed.

13   Cir. 2012). “If there are claim construction disputes at the Rule 12(b)(6) stage,” the district court

14   “must proceed by adopting the non-moving party’s constructions, . . .or the court must resolve

15 the disputes to whatever extent is needed to conduct the § 101 analysis, which may well be less

16 than a full, formal claim construction.” Aatrix Software, Inc. v. Green Shades Software, Inc.,

17 882 F.3d 1121, 1125 (Fed. Cir. 2018) (citations omitted).

18   III. The Section 101 Inquiry is Controlled by the Claim Language

19          Abstract ideas are not patent eligible. District courts employ the two-step analysis of

20   Mayo Collaborative Servs. v. Prometheus Labs., Inc., 566 U.S. 66 (2012), and Alice Corp. v.

21   CLS Bank Int’l., 573 U.S. 208, 216 (2014) to analyze eligibiltiy. “First, we determine whether

22 the claims at issue are directed to one of those patent-ineligible concepts.” Alice, 573 U.S. at

23   217. If the claims are directed to a patent ineligible concept, step two entails a “search for an

24   ‘inventive concept’—i.e., an element or combination of elements that is sufficient to ensure that

25   the patent in practice amounts to significantly more than a patent upon the [ineligible concept]

26   itself.’” Id. at 217-18 (internal quotation marks omitted) (quoting Mayo, 566 U.S. at 72-73).

27          The Federal Circuit has consistently treated “analyzing information by steps people go

28   through in their minds, or by mathematical algorithms, without more, as essentially mental

                                                       2
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                             CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 8 of 21




 1   processes within the abstract-idea category.” Synopsys, Inc. v. Mentor Graphics Corp., 839 F.3d

 2   1138, 1146-47 (Fed. Cir. 2016) (quoting Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350,

 3   1354 (Fed. Cir. 2016)). The law concerning patent eligibility has evolved significantly since

 4   CMU’s trial against Marvell in 2012, where the defense was never raised. The two claims that

 5   CMU asserts in this case are invalid under controlling precedent concerning patent eligibility.

 6          At step one, courts consider the “focus” of the claims, viewing the claims “in their

 7 entirety to ascertain whether their character as a whole is directed to excluded subject matter.”

 8 ChargePoint, 920 F.3d at 765 (Fed. Cir. 2019) (citations omitted). One aspect of the inquiry that
 9 has been clarified since Alice is the role of the patent specification. In ChargePoint, the Federal

10   Circuit stated that, “while the specification may help illuminate the true focus of a claim, when

11 analyzing patent eligibility, reliance on the specification must always yield to the claim language

12 in identifying that focus.” Id. at 766. (citations omitted); see also, Synopsys, 839 F.3d at 1149

13   (“The § 101 inquiry must focus on the language of the Asserted Claims themselves.”).

14          The ChargePoint court noted that the “breadth of the claim language [for the patent at

15   issue] illustrates why any reliance on the specification in the § 101 analysis must always yield to

16   the claim language.” 920 F.3d at 769. Of particular relevance in light of CMU’s contention that

17   the patent claims “describe inventions that improve a physical process by overcoming limitations

18   in physical devices” (Docket Index (“DI”) No. 1 (Complaint) at ¶65), is the court’s statement

19   that “[e]ven a specification full of technical details about a physical invention may nonetheless

20   conclude with claims that claim nothing more than the broad law or abstract idea underlying the

21   claims, thus preempting all use of that law or idea.” ChargePoint, 920 F.3d at 769. The patents

22   describe the purported invention with reference to a magnetic recording system, but the asserted

23   claims “claim nothing more than the . . .abstract idea underlying the claims.” Id.

24   IV. The Asserted Claims are Highly Abstract and Divorced From Any “Physical Process”
25          Claim 4 of the ‘893 patent is representative of both asserted claims for purposes of the
26 §101 analysis and reads as follows:

27                  4. A method of determining branch metric values for branches of a trellis for
            a Viterbi-like detector, comprising:
28                  selecting a branch metric function for each of the branches at a certain time
                                                      3
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                            CASE NO. 3:18-cv-04571-JD
       Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 9 of 21




            index from a set of signal-dependent branch metric functions; and
 1                  applying each of said selected functions to a plurality of signal samples to
 2          determine the metric value corresponding to the branch for which the applied
            branch metric function was selected, wherein each sample corresponds to a
 3          different sampling time instant.

 4          Most noteworthy about the asserted claims is what they lack. There is no mention of a

 5 magnetic recording system, or reading data from any physical media. Rather, the claims are

 6 completely disembodied from the physical realm and claim the purported innovation of the

 7 patent at a high level of abstraction and breadth, divorced from anything physical or concrete.

 8 CMU nevertheless spends several pages in its complaint discussing challenges associated with
 9 reading data from a magnetic medium (Docket Index No. 1, ¶¶28-51), but while the patents

10 admittedly discuss magnetic recording as an impetus for the invention, and a magnetic recording

11 system as an exemplary application, the asserted claims are in no way “directed to” an

12 innovation in magnetic recording technology, as the claim language makes plain.

13          It is noteworthy that the patents include 55 claims, with the asserted claims being the

14 most abstract. In the Marvell litigation, CMU asserted many claims that are far less abstract but

15 are not asserted in this case. These claims provide helpful context, and reinforce that the asserted

16 claims are directed to an abstract idea. For example, claim 23 of the ‘839 patent -- which

17 Marvell was found not to infringe in response to its motion for summary judgment -- is actually

18 directed to a “system for recording information on a magnetic medium,” and includes many
19 physical elements, including several discrete “circuits,” as well as a “write head” for “writing []

20 signals to the recording medium,” and a “read head” for “reading [] signals from the recording

21 medium.” It also specifies a “detector circuit” that performs the function of “detecting a plurality

22 of data from said read signals” and includes a “Viterbi-like detector circuit.” Claim 19, also

23 asserted against Marvell, is similarly directed to a “detector circuit for detecting a plurality of

24 signal samples read from a recording medium,” and includes a “Viterbi-like detector circuit.”

25          In this case, CMU chose not to assert any of these (or other) less abstract claims that

26 actually recite a “physical process” and “physical devices,” and the Court should not rewrite the

27 asserted claims to import such physical limitations so as to preserve their validity. Allen Eng’g

28 Corp. v. Bartell Indus., Inc., 299 F.3d 1336, 1349 (Fed. Cir. 2002) (“It is not our function to
                                                       4
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                             CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 10 of 21




 1   rewrite [indefinite] claims to preserve their validity.”); E.I. du Pont de Nemours & Co. v. Phillips

 2   Petroleum Co., 849 F.2d 1430, 1434 (Fed. Cir. 1988).

 3          The contrast between the nonasserted claims and claim 4 of the ‘839 patent is stark; claim

 4   4 includes only the two steps of “selecting [] branch metric function[s]. . .” and “applying each of

 5   said selected functions to a plurality of signal samples to determine the metric value

 6   corresponding to the branch . . .” There is no dispute that a “branch metric function” is a

 7   mathematical relation. In addition, the parties agree that: i) “signal sample” means simply the

 8   “value [] of a signal at a certain point in time”; and ii) “branch metric value” is simply a

 9   “numerical value of a ‘branch.’” (DI 78, pg. 2). Thus, the claim covers only selecting and

10   applying a mathematical relation to one set of values, in order to calculate another set of values,

11   i.e., nothing more than mathematical calculations. It does not recite any steps that anchor the

12   calculating steps, or the determined branch metric values, to any patent-eligible process.

13   V. Step One of the Alice Analysis

14      A. The Federal Circuit Did Not Address Patent Eligibility in the Marvell Litigation
15          In response to Defendants’ § 101 challenge, CMU has signaled that it intends to rely on a

16 portion of a footnote in the Federal Circuit’s opinion in Carnegie-Mellon Univ. v. Marvell Techn.

17 Grp., Ltd., 807 F. 3d 1283, 1297 n.3 (Fed. Cir. 2015). However, that footnote does not address a

18 § 101 challenge -- a defense never raised by Marvell -- but an argument Marvell made that the
19 claims did not cover “simulations,” because “if the claims reached [] simulations they would

20 ‘cover an abstract idea not otherwise subject to patenting.’” Id. (quoting Marvell’s opening

21 brief). The balance of that footnote is dicta in response to Marvell’s argument regarding claim

22 scope and infringement. Neither the district court nor the Federal Circuit ever considered patent

23 eligibility, much less the decisions post-dating the Marvell decision, and clarifying that the

24 “§101 inquiry must focus on the language of the Asserted Claims themselves.” Synopsys, 839

25 F.3d at 1149. The footnote does not quote or discuss the actual language of the asserted claims.
      B. Methods for Calculating are Not Patent Eligible Subject Matter Under Controlling
26
           Supreme Court and Federal Circuit Precedent
27         The two-part test of Mayo and Alice traces its roots to two earlier Supreme Court cases,
28
                                                       5
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                             CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 11 of 21




 1   Parker v. Flook, 437 U.S. 584, 594-95 (1978), and Diamond v. Diehr, 450 U.S. 175 (1981).
            1. Parker v. Flook
 2
            In Parker v. Flook, which involved a patent claim for a method that used a mathematical
 3
     formula to update alarm limits in a catalytic conversion process, the Supreme Court held that “‘if
 4
     a claim is directed essentially to a method of calculating, using a mathematical formula, even if
 5
     the solution is for a specific purpose, the claimed method is nonstatutory.’” Flook, 584 U.S. at
 6
     595 (quoting In re Richman, 563 F.2d. 1026, 1030 (C.C.P.A. 1977)); see also Digitech Image
 7
     Techn., LLC v. Electronics for Imaging, Inc., 758 F.3d 1344, 1351 (Fed. Cir. 2014) (“Without
 8
     additional limitations, a process that employs mathematical algorithms to manipulate existing
 9
     information to generate additional information is not patent eligible.”).
10
            The claim in Flook was less abstract than the claims here. The formula was applied for a
11
     “specific purpose” that was also claimed -- a “method for updating the value of at least one alarm
12
     limit on at least one process variable involved in a process comprising the catalytic chemical
13
     conversion of hydrocarbons.” And the claim included a step of “adjusting” the alarm limit. 584
14
     U.S. at 588, 596-97. The Court nevertheless rejected the claim. “The process itself, not merely
15
     the mathematical algorithm, must be new and useful.” Id. at 591. However, the claim “simply
16
     provides a new and presumably better method for calculating alarm limit values.” Id. at 594-95.
17
            CMU’s “branch metric values” are at best analogous to the “alarm limits” in Flook, and it
18
     may be presumed that CMU claims a “better method for calculating [branch metric values].” Id.
19
     But the Supreme Court made clear that this does not render the claims patent eligible.
20
            2. Diamond v. Diehr
21
            The Flook Court did state that “it is equally clear that a process is not unpatentable
22
     because it contains . . .a mathematical algorithm.” Id. at 590. The Court’s decision a few years
23
     later in Diamond v. Diehr, 450 U.S. 175 (1981), provides a helpful contrasting example of a
24
     claim including a mathematical algorithm that was held patent eligible. Unlike Flook, the claims
25
     were directed to “a physical and chemical process for molding precision synthetic rubber
26
     products.” Id. at 184. This conclusion “[was] not altered by the fact that in several steps of the
27
     process a mathematical equation and a programmed digital computer are used.” Id. at 185.
28
                                                      6
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                             CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 12 of 21




 1          The Court distinguished Flook by noting that, “the respondents here do not seek to patent

 2   a mathematical formula. Instead, they seek patent protection for a process of curing synthetic

 3   rubber. [The] process admittedly employs a well-known mathematical equation, but they do not

 4   seek to pre-empt the use of that equation.” Id. at 187. The Court pointed to “other steps” in the

 5 claim, including “installing rubber in a press, closing the mold, constantly determining the

 6 temperature of the mold, constantly recalculating the appropriate cure time through the use of the

 7 formula and a digital computer, and automatically opening the press at the proper time.” Id.

 8 CMU’s claims lack these “other steps,” which “transformed the process into an inventive
 9 application of the formula.” Alice, 573 U.S. at 217 (quoting Mayo, 566 U.S. at 70).
            3. Post-Alice Precedent Confirms CMU’s Claims are Directed to an Abstract Idea
10
           In the step one analysis, courts often “compare[] claims at issue to those claims already
11
   found to be directed to an abstract idea in previous cases.” Twilio, Inc. v. Telesign Corp., 249 F.
12
   Supp.3d 1123, 1137 (N.D. Cal. 2017) (quoting Enfish, LLC v. Microsoft Corp., 822 F.3d 1327,
13
   1334 (Fed. Cir. 2016)). Such cases confirm that CMU’s claims are directed to an abstract idea.
14
                   (i) SAP America, Inc. v. Investpic, LLC
15
           In SAP America, Inc. v. Investpic, LLC, 898 F. 3d 1161 (Fed. Cir. 2018), the Federal
16
   Circuit affirmed the district court’s grant of a motion on the pleadings under Rule 12(c) for
17
   invalidity based on ineligible subject matter for a patent covering systems and methods for
18
   performing statistical analyses of investment information. For example, claim 1 read as follows:
19
                   1. A method for calculating, analyzing and displaying investment data
20         comprising the steps of:
                      (a) selecting a sample space, wherein the sample space includes at least
21             one investment data sample;
                      (b) generating a distribution function using a resampled statistical method
22             and a bias parameter, wherein the bias parameter determines a degree of
               randomness in a resampling process; and,
23
                      (c) generating a plot of the distribution function.
24 Id. at 1164.

25          The “selecting” and first “generating” limitations above are akin to the “selecting” and

26   “applying” steps of claim 4 of the ‘839 patent. And the claim adds the step of “generating a plot

27 of the distribution function,” thus resulting in something tangible. Nevertheless, the Federal

28 Circuit affirmed the district court’s grant of a motion on the pleadings for invalidity under §101:
                                                     7
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                           CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 13 of 21




               The claims here are ineligible because their innovation is an innovation in
 1           ineligible subject matter. Their subject is nothing but a series of mathematical
 2           calculations based on selected information and the presentation of the results of
             those calculations (in the plot of a probability distribution function). No matter how
 3           much of an advance in the finance field the claims recite, the advance lies entirely
             in the realm of abstract ideas, with no plausibly alleged innovation in the non-
 4           abstract application realm. An advance of that nature is ineligible for patenting.
     Id. at 1163.
 5
            The court further noted that, like CMU’s claims, “[t]he focus of the claims [] is on
 6
     selecting certain information, analyzing it using mathematical techniques, and reporting or
 7
     displaying the results of the analysis. That is all abstract.” Id. at 1167. Here the focus is on
 8
     “selecting” a mathematical function and applying it to information (values associated with signal
 9
     samples) to obtain other information (branch metric values), which is where the claims end.
10
     After noting that “claims focused on ‘collecting information, analyzing it, and displaying certain
11
     results of the collection and analysis’ are directed to an abstract idea,” the court continued:
12
               “Information as such is an intangible,” hence abstract, and “collecting
13             information, including when limited to particular content (which does not change
               its character as information), [i]s within the realm of abstract ideas.” Id. (citing
14             cases). So, too, is “analyzing information . . . by mathematical algorithms, without
               more.” Id. at 1354 (citing cases, including Parker v. Flook, 437 U.S. 584, 98 S.Ct.
15             2522, 57 L.Ed.2d 451 (1978), and Gottschalk v. Benson, 409 U.S. 63, 93 S.Ct.
               253, 34 L.Ed.2d 273 (1972)…And “merely presenting the results of abstract
16
               processes of collecting and analyzing information, without more (such as
17             identifying a particular tool for presentation), is abstract as an ancillary part of
               such collection and analysis.” Id. (citing cases). The claims here are directed at
18             abstract ideas under those principles.
     Id. at 1167.
19
            Notably, the SAP decision is not based on the nature of the information, i.e., “investment
20
     data,” because “it does not matter” if the information is “‘limited to a particular content’ or a
21
     particular ‘source,’” which “does not make the collection and analysis other than abstract.” Id. at
22
     1167-1168 (citing Flook and Gottschalk v. Benson, 409 U.S. 63 (1972)). Indeed, the “investment
23
     character” of the information in SAP invoked a “separate category of abstract ideas involved in
24
     Alice and many of our cases -- ‘the creation and manipulation of legal obligations such as
25
     contracts involved in fundamental economic practices.’” Id. at 1168 (emphasis added) (quoting
26
     OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359, 1363 (Fed. Cir. 2015)).
27
            Thus, claims directed to “collecting and analyzing information” are abstract ideas,
28
                                                       8
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                              CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 14 of 21




 1   whether that information is alarm limits as in Flook, binary-coded decimal numerals as in

 2   Benson, investment data as in SAP, or the “values” of “signal samples” as in CMU’s claims.

 3                  (ii) Post-Alice Decisions Finding Claims Patent Eligible Are Not Applicable
            SAP also distinguished post-Alice decisions finding claims involving mathematical
 4
     algorithms patent-eligible. For example, the court held the claims were “critically different”
 5
     from those in McRO, Inc. v. Bandai Namco Games America Inc., 837 F.3d 1299 (Fed. Cir.
 6
     2016), which were directed to the “creation of something physical,” i.e, the display of “lip
 7
     synchronization and facial expressions” of animated characters on screens. SAP, 898 F.3d at
 8
     1167. The court noted that the “claimed improvement was to how the physical display operated
 9
     (to produce better quality images), unlike (what is present here) a claimed improvement in a
10
     mathematical technique with no improved display mechanism.” Id. Here too, the claimed
11
     improvement is solely in the “mathematical technique” for calculating branch metric values.
12
            The Federal Circuit also addressed Thales Visionix Inc. v. United States, 850 F.3d 1343,
13
     1348-49 (Fed. Cir. 2017), which concerned claims where “the improvement was in a physical
14
     tracking system.” SAP, 898 F.3d at 1168. The court noted that in that case the “use of
15
     mathematics to achieve an improvement no more changed the conclusion that improved physical
16
     things and actions were the subject of the claimed advance than it did in Diamond v. Diehr” Id.
17
     The court distinguished the SAP claims because, like CMU’s claims, “the focus of the claims is
18
     not a physical-realm improvement but an improvement in wholly abstract ideas — the selection
19
     and mathematical analysis of information, followed by reporting or display of the results.” Id.
20
            This court should also reject any attempted reliance on Enfish, LLC v. Microsoft Corp.,
21
     822 F.3d 1327, 1336 (Fed. Cir. 2016), where the Federal Circuit held that claims for a “data
22
     storage and retrieval system for a computer memory” were “directed to a specific improvement
23
     to the way computers operate.” Id. As the Federal Circuit aptly noted in SAP, “[h]ere, the focus
24
     of the claims is not any improved computer or network, but the improved mathematical analysis;
25
     and indeed, the specification makes clear that off-the-shelf computer technology is usable to
26
     carry out the analysis.” 898 F.3d at 1168. The same is true here. Indeed, CMU argued to the
27
     Federal Circuit that the “claims can be carried out ‘on a computer,’” citing the portion of its
28
                                                      9
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                             CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 15 of 21




 1   patents describing use of “a personal computer, a workstation, or a mainframe.” DI 97-1

 2 (CMU’s Answering Brief), pg. 62; ‘839 patent at 11:20-29. In other words, “[t]he claims of the

 3 [asserted] patent thus fit into the familiar class of claims that do not ‘focus . . . on [] an

 4 improvement in computers as tools, but on certain independently abstract ideas that use

 5 computers as tools.’” 898 F.3d at 1168 (quoting Electric Power, 830 F.3d at 1354).

 6     C. CMU’s Asserted Patent Claims Fail Step One of the Alice Inquiry

 7          Here too the §101 analysis is governed by Flook and Benson, cases holding patent claims

 8   unpatentable where the focus of the claims is “analyzing information. . .by mathematical

 9   algorithms, without more.” SAP, 893 F.3d at 1167 (quoting Elec. Power, 830 F.3d at 1354). All

10   of the reasoning supporting ineligibility in SAP applies here. The focus of the claims is on a

11   purportedly improved mathematical analysis involving only the steps of “selecting a branch

12   metric function,” and “applying” the function to “signal samples,” and for claim 2 of the ‘180

13   patent, the preliminary step of “receiving” the samples. As discussed below, the preambles are

14   not limitations, but even if considered, they do not alter the §101 analysis. Indeed, unlike in

15   McRO, where the claims were directed to a “method for automatically animating lip

16   synchronization and facial expression of three-dimensional characters,” McRO, 837 F.3d at

17   1307, and Thales, which claimed a “system for tracking the motion of an object relative to a

18   moving reference frame,” 850 F.3d at 1345, the preambles here recite only a “method for

19   determining branch metric values,” which, as CMU admits, are simply “numerical value(s).”

20          The nonasserted claims demonstrate that CMU could have similarly limited the asserted

21   claims to, for example, “an improved method for reading information from a magnetic storage

22   medium.” Whether the §101 analysis would differ for a claim actually directed to a method for

23   reading data from a magnetic recording medium is not before the Court. The ChargePoint

24   decision is on point: “[e]ven a specification full of technical details about a physical invention

25   may nonetheless conclude with claims that claim nothing more than the broad law or abstract

26   idea underlying the claims, thus preempting all use of that law or idea.” ChargePoint, 920 F.3d

27 at 769. In sum, controlling case law dictates that CMU’s claims are directed to an abstract idea,

28 i.e., performing mathematical calculations on one set of values to obtain another set of values.
                                                       10
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                              CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 16 of 21




     VI. CMU’s Asserted Claims Fail Step Two of The Alice Analysis
 1
            Step two of Alice– the “search for an inventive concept” -- asks whether the claims
 2
     include “‘additional features’ to ensure that the [claim] is more than a drafting effort designed to
 3
     monopolize the [abstract idea].” Id. at 773. To be patent-eligible, “the inventive concept must
 4
     be ‘sufficient to ensure that the patent in practice amounts to significantly more’ than a patent on
 5
     the abstract idea.” Id. (quoting Mayo, 566 U.S. at 72-73). In addition, “‘a claimed invention’s
 6
     use of the ineligible concept to which it is directed cannot supply the inventive concept that
 7
     renders the invention ‘significantly more’ than the ineligible concept.’” Id. (quoting BSG Tech.
 8
     LLC v. BuySeasons, Inc., 899 F.3d 1281, 1290 (Fed. Cir. 2018)). This is because “[t]he abstract
 9
     idea itself cannot supply the inventive concept, ‘no matter how groundbreaking the advance.’”
10
     Trading Techns. Int’l, Inc. v. IBG LLC, 921 F.3d 1378, 1385 (Fed. Cir. 2019).
11
            While the “inventive concept” analysis asks, “whether a claim element or combination of
12
     elements is well-understood, routine and conventional to a skilled artisan in the relevant field,” a
13
     question of fact, Berkheimer v. HP Inc., 881 F.3d 1360, 1368 (Fed. Cir. 2018), “[the] question
14
     may be, and frequently has been, resolved on a Rule 12(b)(6) or (c) motion where the undisputed
15
     facts, considered under the standards required by that Rule, require a holding of ineligibility
16
     under the substantive standards of law.” SAP, 898 F.3d at 1166. CMU made no allegations that
17
     raise any factual issues concerning the “inventive concept” inquiry, because “invocation of
18
     already-available computers that are not themselves plausibly asserted to be an advance, for use
19
     in carrying out improved mathematical calculations, amounts to a recitation of what is ‘well-
20
     understood, routine, [and] conventional.’” SAP, 898 F.3d at 1170 (quotations omitted).
21
            Indeed, the patents preclude any argument that there is anything “inventive” outside the
22
     realm of abstract ideas, and specifically state that the algorithms described and claimed therein
23
     “can be performed on a computer,” which includes “a personal computer, a workstation, or a
24
     mainframe computer.” ‘839 patent at 11:20-29. And in successfully arguing to the Federal
25
     Circuit in the Marvell litigation that the claims read on “simulations” performed by Marvell,
26
     which were nothing more than off-the-shelf computers alleged to be programmed to perform the
27
     steps of the claimed method, CMU relied on “the patents’ express teaching that the claims can be
28
                                                      11
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                             CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 17 of 21




 1   carried out ‘on a computer.’” DI 97-1(CMU’s Answering Brief), pg. 62.

 2          The Federal Circuit’s step two analysis in SAP thus applies equally to the claims at issue:

 3           There is, in short, nothing “inventive” about any claim details, individually or in
             combination, that are not themselves in the realm of abstract ideas. In the absence
 4           of the required “inventive concept” in application, the claims here are legally
             equivalent to claims simply to the asserted advance in the realm of abstract ideas
 5           — an advance in mathematical techniques in finance. Under the principles
 6           developed in interpreting § 101, patent law does not protect such claims, without
             more, no matter how groundbreaking the advance.
 7   SAP, 898 F.3d at 1170.

 8          Finally, notwithstanding the absence of any such limitations in the claim, CMU may

 9   argue that the claims should be construed as limited to use of the claimed algorithm in a

10   magnetic recording system. There is no basis to restrict the claims in this way, but even if it is

11   assumed for purposes of this motion that the claims are so limited, that does not change the

12   analysis. “Flook stands for the proposition that the prohibition against patenting abstract ideas

13   cannot be circumvented by attempting to limit the use of [the idea] to a particular technological

14   environment.” Bilski v. Kappos, 561 U.S. 593, 610-611 (2010) (internal quotations omitted); see

15   also Intellectual Ventures I LLC v. Capital One Bank (USA), 792 F.3d 1363, 1366 (Fed. Cir.

16   2015) (“[a]n abstract idea does not become nonabstract by limiting the invention to a particular

17   field of use or technological environment, such as the Internet.”).

18          The asserted claims lack an inventive concept, and thus are invalid.

19   VII. CMU’s Factual Allegations Do Not Avoid Patent Ineligibility as a Matter of Law
        A. CMU’s Pleadings Confirm That the Asserted Claims are Not Patent Eligible
20
            CMU alleges that “the methods cannot be performed mentally or with pencil and paper
21
     because the claims require that the methods be performed in a detector and because the human
22
     mind cannot possess noisy signal samples and, therefore, cannot apply functions to noisy signal
23
     samples.” DI 1, ¶65; DI 100, ¶19. However, the claims do not include any step of “detecting,”
24
     and the only reference to a “detector” is in the preambles, which are not claim limitations. In this
25
     regard, the preamble of claim 4 of the ‘839 Patent states that the claimed method of “determining
26
     branch metric values for branches of a trellis” is simply performed “for” a detector. The
27
     preamble thus recites only the result of practicing the claimed steps (“determining branch metric
28
                                                      12
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                             CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 18 of 21




 1   values”), which is also stated in the “applying” step, and the intended use for those values (“for a

 2   detector”). The preamble of claim 1 of the ‘180 patent similarly repeats the “determining branch

 3   metric values” result of the claim, and recites where the branch metric values are used (“in a

 4   detector”). In other words, the “detector” references in the preambles simply recite the purpose

 5   or intended use for the calculated values, and thus do not limit the scope of the claim.

 6           Digitech Image Techns., LLC v. Electronics for Imaging, Inc., 758 F.3d 1344 (Fed. Cir.

 7   2014), is on point. That case involved a §101 challenge to a claimed “method of generating a

 8   device profile that describes properties of a device in a digital image reproduction system for

 9   capturing, transforming or rendering an image” (preamble), comprising the steps of “generating

10   first data . . .,” “generating second data . . .,” and “combining said first and second data . . .” Id.

11   at 1351. The court held that the claim “claims an abstract idea because it describes a process of

12   organizing information through mathematical correlations and is not tied to a specific structure

13   or machine.” Id. at 1350. It noted that “nothing in the claim language expressly ties the method

14   to an image processor,” and that the claim “does not claim the processor’s use of that profile in

15   the capturing, transforming, or rendering of a digital image.” Id. at 1351. The court rejected the

16   argument that the claimed method was performed in an “image processor” due to the “image

17   reproduction system” in the preamble, because the court has “routinely held that a preamble does

18   not limit claim scope if it ‘merely states the purpose or intended use of an invention.’ Bicon, Inc.

19   v. Straumann Co., 441 F.3d 945, 952 (Fed. Cir. 2006).” Id.

20           The above reasoning applies to the asserted claims. Nothing in the claims expressly ties

21   the method to a “detector.” Nor do the claims claim the detector’s use of the branch metric

22   values for any purpose, such as “outputting a delayed signal sample,” a limitation that appears in

23   claims 11 and 16 of the ‘839 patent. CMU chose to omit any such limitations from the asserted

24   claims, and claim only the bare abstract idea of performing mathematical calculations.

25           Even if it is assumed the preambles are limitations for purposes of this motion, they serve

26   only to confirm that the claims are directed to an abstract idea. As discussed above, the claim 4

27   preamble specifies that the purpose of the claimed method is simply “determining branch metric

28   values for branches of a trellis for a Viterbi-like detector.” And the parties agree that: i) “branch

                                                        13
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                               CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 19 of 21




 1   metric value” is simply a “numerical value of a ‘branch,’”; ii) “branch” is an abstract concept,

 2   i.e., “a potential transition between two states (nodes) immediately adjacent in time in a ‘trellis’”;

 3   and iii) “trellis” is also an abstract concept, i.e., a “graphical representation of the progression of

 4 states of a communications channel in time, wherein states are depicted as nodes and potential

 5 transitions between states are depicted as lines or arrows.” (DI 78, pgs. 1-2). None of the

 6   preamble language “transforms” the abstract idea of the body of the claim into a patentable

 7   invention. Rather, it serves to reinforce that the claims are directed to an abstract idea.

 8           Similarly, CMU’s contention that “the human mind cannot possess noisy signal samples”

 9   is misleading. CMU admits that “signal sample” is properly construed as “a value of a signal at

10   a certain point in time.” And the claim requires nothing more than performing a selected

11   mathematical operation on those values, which is within the capabilities of the human mind.

12   Even accepting as true the facts pled for purposes of this motion, “the inability for the human

13   mind to perform each claim step does not alone confer patentability.” FairWarning IP, LLC v.

14   Iatric Sys., Inc., 839 F.3d 1089, 1098 (Fed. Cir. 2016) (citing Bancorp Servs., LLC v. Sun Life

15   Assur. Co. of Can.(U.S.), 687 F.3d 1266, 1278 (Fed. Cir. 2012) (“[T]he fact that the required

16   calculations could be performed more efficiently via a computer does not materially alter the

17   patent eligibility of the claimed subject matter.”)). Moreover, CMU’s argument is belied by the

18   breadth of the claims themselves, which are agnostic as to the complexity of the claimed

19   calculations. Indeed, in describing an example of “how the algorithm [] works,” the patents use

20   a “simple trellis structure” shown in Fig. 4, with only four nodes and two branches entering (not

21   shown) and leaving each node, for a total of just 16 branches, and thus 16 calculations associated

22   with the claimed steps of “selecting” and “applying” the “branch metric functions” to the “signal

23 samples” to “determine the metric value corresponding” to each of the 16 branches. (‘839

24 Patent, at col. 10, 26-43 and Fig. 4) (showing eight branches leaving four nodes).

25           CMU also alleges that “the claimed inventions improve the sequence detector in a read

26 channel in an HDD by enabling the detector to discern more accurately what is written on the

27 magnetic recording medium, which is tied to what the read channel has sensed.” (DI 1 at ¶66)

28   However, even accepting its allegations concerning improved accuracy as true, the claims do not

                                                       14
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                               CASE NO. 3:18-cv-04571-JD
      Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 20 of 21




 1   recite such improvement. “To the extent that [the patent holder] suggests that its claimed

 2   invention recites a technological advance . . . , its claims do not recite any such improvement.

 3   Rather, the claimed invention is directed to the broad concept . . .” FairWarning, 839 F.3d at

 4 1097 (affirming dismissal due to patent ineligibility). The claims say nothing about improving a

 5 method for reading data from a magnetic recording medium, and CMU cannot import such

 6 limitations into the claims to avoid invalidity under § 101. Allen Eng’g Corp., 299 F.3d at 1349.

 7          Most telling is CMU’s allegation that the only “non-routine and unconventional steps”

 8 claimed in the patents are “for determining branch metric values. . .” (DI 100 ¶19), which, as
 9 discussed above, are all wholly part of a patent-ineligible algorithm. SAP, 898 F.3d at 1167. As

10   a matter of law, such allegedly “improved mathematical calculations” cannot supply the

11   necessary “inventive concept.” Id. at 1170. Finally, CMU’s sound bites from the Marvell

12   litigation and “breakthrough” allegation (DI 100 at ¶19) are irrelevant, because advances in

13 mathematical techniques are not patentable, “no matter how groundbreaking the advance.” Id.

14      B. CMU’s Patents Raise the Preemption Concerns Underlying Flook and Alice

15          Lastly, although preemption concerns are fully addressed by the Mayo/Alice analysis
16   above, Ariosa Diagnostics, Inc. v. Sequenom, Inc., 788 F.3d 1371, 1379 (Fed. Cir. 2015), it is
17   noteworthy that CMU’s complaint validates these concerns, given its allegations concerning the
18   sweeping breadth of its purported invention. In particular, CMU alleges that “pattern dependent
19   filter” (DI 1, ¶90), “data dependent noise prediction,” (Id. ¶92) and “data-dependent NPML” (Id.
20   ¶98), none of which appear in the asserted claims, are nonetheless all “industry terms”
21 synonymous with the broad concept allegedly “covered by”/“claimed by” its patents. Similarly,

22   CMU asserts in paragraph 93 that “‘NPFIR’ (e.g. noise predictive FIR filter),” another term not
23   found in the claims, “refer[s] to the invention claimed in the Patents.” Id. ¶93. These allegations
24   highlight that CMU’s patents claim “nothing more than the [] abstract idea underlying the
25   claims, thus preempting all use of that [] idea.” ChargePoint, 920 F.3d at 7699.
26   VIII. Conclusion
27          Defendants respectfully request that their motion be granted.

28
                                                     15
      DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                            CASE NO. 3:18-cv-04571-JD
     Case 3:18-cv-04571-JD Document 105 Filed 06/12/19 Page 21 of 21




 1   Dated: June 12, 2019                         Respectfully submitted,

 2                                                KING & SPALDING LLP

 3

 4                                                By: /s/ Steven J. Rizzi
                                                  KENNETH L. STEINTHAL (SBN 268655)
 5                                                ksteinthal@kslaw.com
                                                  KING & SPALDING LLP
 6                                                101 Second Street, Suite 2300
                                                  San Francisco, CA 94105
 7                                                Telephone: (415) 318-1211
                                                  Facsimile: (415) 318-1300
 8
                                                  STEVEN JAY RIZZI (admitted pro hac vice)
 9                                                srizzi@kslaw.com
                                                  RAMY HANNA (admitted pro hac vice)
10                                                rhanna@kslaw.com
                                                  KING & SPALDING LLP
11                                                1185 Avenue of the Americas, 35th Floor
                                                  New York, NY 10036
12                                                Telephone: (212) 556-2100
                                                  Facsimile: (212) 556-2222
13

14                                                Attorneys for Defendants LSI CORPORATION
                                                  and AVAGO TECHNOLOGIES U.S. INC.,
15

16
                                    CERTIFICATE OF SERVICE
17
     I hereby certify that a true and correct copy of the above and foregoing document has been
18
19   served on all counsel of record via the Court’s ECF system on June 12, 2019.

20                                                              /s/ Steven J. Rizzi
21                                                              Steven J. Rizzi

22

23

24

25

26

27

28
                                                   16
     DEFTS’ MTN FOR JUDGMENT OF INVALIDITY                           CASE NO. 3:18-cv-04571-JD
